
The prisoner was indicted in April 1791, in ‘ the District Court of Richmond, for having, on the 11th of December, 1790, feloniously and falsely made, forged and counterfeited, and for having caused and procured to be *8falsely made, forged and counterfeited, a certain writing obligatory purporting to be a power of attorney signed and sealed by one "William Cosby, the tenor whereof is stated as follows; “Know all men by these presents, that “I William Cosby of the county of Chesterfield have requested, empowered, and 5 appointed, and do by these ^presents request, empower and appoint William Nichols of the county of Dinwiddie to secure the money due me for my services in the Cavalry in the Continental army which amounts to , to the only proper use and behalf .of the said William Nichols. In witness whereof, I have hereunto set my hand and seal this 11th day of December 1790, William Cosby. Teste A. S. and G. S. Magistrates of Chesterfield County;” with intent to defraud the said William Cosby, against the form of the act of assembly, &amp;c.
The prisoner was found guilty by the jury, and he moved in arrest of judgment, and assigned the following reason : “Because the offence charged in the indictment aforesaid is not a crime, within the meaning of the act entitled “an act against forgery.” The question was adjourned for difficulty, and the general court consisting of Tazewell, Tucker, and Tyler, judges, entered the following judgment. “June 24, 1791. It is the opinion of the court that the offence as charged in the indictment against the defendant is not a crime within the meaning of the act entitled ‘an act against forgery’ and that judgment on the verdict ought to be arrested, and the said indictment quashed.”
Note. “The act against forgery” under which Proctor was indicted, was passed 6 on the 25th November, 1789, *and is to be found in the acts of that year, chapter 19th. It was copied verbatim into the revisal of 1792, and is to be found in the 1st volume of the Revised Code p. 249, and is the second section of the 133d chapter.
